
127 S.Ct. 828 (2006)
549 U.S. 1093
Raul GALINDO-PENA, petitioner,
v.
Alberto R. GONZALES, Attorney General.
Alfonso Acosta-Grimaldo, petitioner,
v.
Alberto R. Gonzales, Attorney General.
No. 05-1276.
Supreme Court of United States.
December 11, 2006.
On petition for writ of certiorari to the United States Court of Appeals for the Fifth Circuit. Petition for writ of certiorari granted. Judgment vacated, and case remanded to the United States Court of Appeals for the Fifth Circuit for further consideration in light of Lopez v. Gonzales, 549 U.S. 47, 127 S.Ct. 625, 166 L.Ed.2d 462 (2006).
